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           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
                                                                        United States Court of Appeals
                                                                                 Fifth Circuit

                                                                               FILED
                                    No. 19-10325                            April 8, 2020
                                  Summary Calendar
                                                                          Lyle W. Cayce
                                                                               Clerk
UNITED STATES OF AMERICA,

                                                 Plaintiff-Appellee

v.

JOSE GARCIA-LIZANAGA, also known as Chepe,

                                                 Defendant-Appellant


                   Appeal from the United States District Court
                        for the Northern District of Texas
                             USDC No. 5:18-CR-50-1


Before HIGGINBOTHAM, HO, and ENGELHARDT, Circuit Judges.
PER CURIAM: *
       Jose Garcia-Lizanaga appeals the 400-month sentence imposed
following his guilty plea conviction for distribution and possession with intent
to distribute 500 grams or more of methamphetamine. On appeal, he argues
that the district court committed plain error by not imposing a sentence below
his calculated guidelines range of 360 months to life in prison.




       * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.
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      Garcia-Lizanaga did not object to his sentence in the district court. Thus,
review is for plain error only. See Puckett v. United States, 556 U.S. 129, 134
(2009). The record reveals that the district court did not make an arithmetic
error during sentencing but imposed a sentence within the guidelines range
calculated after granting the Government’s U.S.S.G. § 5K1.1 motion for a
downward departure. Garcia-Lizanaga cannot rely on the clerical error in the
Statement of Reasons (SOR), which incorrectly notes that the pre-departure
guidelines range of imprisonment was 360 months to life, rather than life. The
SOR serves a “record-keeping function” and does not provide any “procedural
safeguard[s]” to a defendant. United States v. Shakbazyan, 841 F.3d 286, 292
(5th Cir. 2016) (internal quotation marks and citations omitted). Accordingly,
any clerical error in the SOR is harmless, and Garcia-Lizanaga cannot now
rely on such an error to claim that the district court committed an arithmetic
error by not downwardly departing. See id.
      The case is REMANDED to the district court for the limited purpose of
correcting the clerical error in the SOR. See United States v. Powell, 354 F.3d
362, 371-72 (5th Cir. 2003); FED. R. CRIM. P. 36. The judgment of the district
court is AFFIRMED.




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